          Case 21-51190-BLS    Doc 84   Filed 05/02/22   Page 1 of 29




              IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF DELAWARE


 In re:

 QUORUM HEALTH CORPORATION, et al.,           Chapter 11

                        Debtor.               Case No. 20-10766 (BLS)



DANIEL H. GOLDEN, AS LITIGATION
TRUSTEE OF THE QHC LITIGATION
TRUST, AND WILMINGTON SAVINGS                 Adv. Pro. No. 21-51190 (BLS)
FUND SOCIETY, FSB, SOLELY IN ITS
CAPACITY AS INDENTURE TRUSTEE,

                       Plaintiffs,

     v.

COMMUNITY HEALTH SYSTEMS, INC.;
CHS/COMMUNITY HEALTH SYSTEMS,
INC.; REVENUE CYCLE SERVICE CENTER,
LLC; CHSPSC, LLC; PROFESSIONAL
ACCOUNT SERVICES, INC.; PHYSICIAN
PRACTICE SUPPORT, LLC; ELIGIBILITY
SCREENING SERVICES, LLC; W. LARRY
CASH; RACHEL SEIFERT; ADAM
FEINSTEIN; AND CREDIT SUISSE
SECURITIES (USA) LLC,

                       Defendants.




REPLY BRIEF IN SUPPORT OF DEFENDANTS COMMUNITY HEALTH SYSTEMS,
 INC., CHS/COMMUNITY HEALTH SYSTEMS, INC., REVENUE CYCLE SERVICE
   CENTER, LLC, CHSPSC, LLC, PROFESSIONAL ACCOUNT SERVICES, INC.,
 PHYSICIAN PRACTICE SUPPORT, LLC, ELIGIBILITY SCREENING SERVICES,
      LLC, W. LARRY CASH, RACHEL SEIFERT, AND ADAM FEINSTEIN’S
                          MOTION TO DISMISS
              Case 21-51190-BLS      Doc 84    Filed 05/02/22     Page 2 of 29




YOUNG CONAWAY STARGATT                         KRAMER LEVIN ROBBINS RUSSELL
 & TAYLOR LLP
                                               Gary A. Orseck (admitted pro hac vice)
Michael S. Neiburg (DE No. 5275)               Alison C. Barnes (admitted pro hac vice)
Christopher M. Lambe (DE No. 6846)             William J. Trunk (admitted pro hac vice)
Rodney Square                                  Jack A. Herman (admitted pro hac vice)
1000 North King St.                            Lauren C. Andrews (admitted pro hac vice)
Wilmington, DE 19801                           Jason A. Shaffer (admitted pro hac vice)
Tel.: (302) 571-6600                           2000 K Street, N.W., 4th Floor
Fax: (302) 571-1253                            Washington, D.C. 20006
mneiburg@ycst.com                              Tel: (202) 775-4500
                                               Fax: (202) 775-4510
Counsel for Defendants Community Health        gorseck@kramerlevin.com
Systems, Inc., CHS/Community Health            Counsel for Defendants Community Health
Systems, Inc., Revenue Cycle Service Center,   Systems, Inc., CHS/Community Health Systems,
LLC, CHSPSC, LLC, Professional Account         Inc., Revenue Cycle Service Center, LLC,
Services, Inc., Physician Practice Support,    CHSPSC, LLC, Professional Account Services,
LLC, Eligibility Screening Services, LLC, W.   Inc., Physician Practice Support, LLC,
Larry Cash, Rachel Seifert, and Adam           Eligibility Screening Services, LLC, W. Larry
Feinstein                                      Cash, and Rachel Seifert


                                               ROLNICK KRAMER SADIGHI LLP

                                               Marc B. Kramer (admitted pro hac vice)
                                               Matthew Peller (admitted pro hac vice)
                                               1251 Avenue of the Americas
                                               New York, New York 10020
                                               Tel: (212) 597-2800
                                               Fax: (212) 597-2801
                                               mkramer@rksllp.com

                                               Sheila Sadighi (admitted pro hac vice)
                                               300 Executive Drive
                                               West Orange, New Jersey 07052

                                               Counsel for Defendant Adam Feinstein
May 2, 2022
                     Case 21-51190-BLS                     Doc 84           Filed 05/02/22              Page 3 of 29




                                                    TABLE OF CONTENTS

                                                                                                                                        Page(s)

Table of Authorities ....................................................................................................................... iii

ARGUMENT .................................................................................................................................. 1

I.     PLAINTIFFS’ CLAIMS TO RECOVER THE DISTRIBUTION ARE BARRED BY
       THE BANKRUPTCY CODE’S SAFE HARBOR PROVISION (COUNTS I, II, XIII,
       XIV & XV) ............................................................................................................................. 1

       A.     Plaintiffs’ Fraudulent Transfer Claims Are Barred By The Safe Harbor ....................... 1

              1.     The Distribution Was Made “In Connection” With Various “Securities
                     Contracts” ................................................................................................................ 1

              2.     The Distribution Was Made To, And For The Benefit Of, A Financial
                     Participant (CHS-2) ................................................................................................. 4

       B.     Plaintiffs’ Additional Claims Are Likewise Barred By The Safe Harbor ...................... 5

              1.     The Safe Harbor Precludes The Trustee’s Claims For Unjust Enrichment
                     And Illegal Dividend ............................................................................................... 5

              2.     The Safe Harbor Also Precludes The Individual Noteholders’ Tagalong
                     Claims ..................................................................................................................... 6

II.    EVEN IF THE SAFE HARBOR DID NOT APPLY, THE ILLEGAL DIVIDEND
       CLAIMS WOULD STILL FAIL ............................................................................................ 8

       A.     The Distribution Was Not A Dividend ........................................................................... 9

       B.     The Illegal Dividend Claims Are Barred By Claim And Issue Preclusion, In Any
              Event ............................................................................................................................. 10

              1.     Plaintiffs’ Claims Are Barred By Claim Preclusion ............................................. 11

              2.     Plaintiffs’ Claims Are Barred By Issue Preclusion As Well................................. 12

III. PLAINTIFFS’ UNJUST ENRICHMENT CLAIM (COUNT XV) IS BOTH
     PRECLUDED AND TIME-BARRED ................................................................................. 14

       A.     The Unjust Enrichment Claim Is Foreclosed By Claim And Issue Preclusion ............ 14

       B.     The Unjust Enrichment Claim Is Largely Time-Barred ............................................... 15




                                                                        i
                    Case 21-51190-BLS                   Doc 84           Filed 05/02/22           Page 4 of 29

                                        TABLE OF CONTENTS—Continued

                                                                                                                                Page(s)

IV. THE INDIVIDUAL NOTEHOLDER CLAIMS SHOULD BE DISMISSED..................... 15

       A.     The Court Lacks Jurisdiction Over The Individual-Noteholder Claims ....................... 15

       B.     All But One Noteholder Claim Is Precluded Until The Litigation Trustee
              Relinquishes His Purported Authority To Assert General Estate Claims ..................... 18

       C.     The Individual Noteholders’ Remaining Claim For Breach Of Contract (Count
              XII) Fails Because They Do Not Adequately Plead Alter Ego Liability ...................... 19

CONCLUSION ............................................................................................................................. 20




                                                                    ii
                   Case 21-51190-BLS                   Doc 84           Filed 05/02/22          Page 5 of 29




                                              TABLE OF AUTHORITIES

                                                                                                                             Page(s)

Cases

In re AstroPower Liquidating Tr.,
    335 B.R. 309 (Bankr. D. Del 2005) ...................................................................................17, 18

In re Bernard L. Madoff Inv. Sec. LLC,
    773 F.3d 411 (2d Cir. 2014)...................................................................................................2, 3

Blair v. Infineon Techs. AG,
   720 F. Supp. 2d 462 (D. Del. 2019) .........................................................................................19

In re BWI Liquidating Corp.,
    437 B.R. 160 (Bankr. D. Del. 2010) ........................................................................................18

Chicago Florsheim Shoe Store Co. v. Cluett, Peabody & Co.,
   826 F.2d 725 (7th Cir. 1987) ...................................................................................................19

Connors v. Peles,
   724 F. Supp. 1538 (W.D. Pa. 1989) .........................................................................................19

Contemporary Indus. Corp. v. Frost,
   564 F.3d 981 (8th Cir. 2009), 138 S. Ct. 883 (2018) .....................................................4, 5, 6, 8

Contemporary Indus. Corp. v. Frost,
   564 F.3d 981, 988 (8th Cir. 2009) .............................................................................................5

FTC v. Shire ViroPharma, Inc.,
  917 F.3d 147 (3d Cir. 2019).......................................................................................................4

Fulweiler v. Spruance,
   222 A.2d 555 (Del. 1966) ..........................................................................................................9

In re Good Time Charley’s, Inc.,
    54 B.R. 157 (Bankr. D.N.J. 1984) ...........................................................................................11

In re Hechinger Inv. Co. of Del.,
    274 B.R. 71 (D. Del. 2002) ........................................................................................................6

In re IAC/InterActive Corp.,
    948 A.2d 471 (Del. Ch. 2008)....................................................................................................9

Ieradi v. Mylan Labs., Inc.,
    230 F.3d 594 (3d Cir. 2000).......................................................................................................4


                                                                  iii
                    Case 21-51190-BLS                  Doc 84           Filed 05/02/22          Page 6 of 29




                                     TABLE OF AUTHORITIES—Continued
                                                                                                                              Page(s)

John A. Roebling’s Sons Co. v. Mode,
   43 A. 480 (Del. Super. Ct. 1899) .............................................................................................12

In re Lehman Bros. Holdings Inc.,
    469 B.R. 415 (Bankr. S.D.N.Y. 2012) .......................................................................................6

Lehman Bros. Holdings, Inc. v. Kee,
   268 A.3d 178 (Del. 2021) ........................................................................................................20

In re LGI, Inc.,
    322 B.R. 95 (Bankr. D.N.J. 2005) ...........................................................................................18

In re Maxus Energy Corp.,
    2019 WL 647027 (Bankr. D. Del. Feb. 15, 2019) ...................................................................11

Montana v. United States,
  440 U.S. 147 (1979) .................................................................................................................13

In re Montgomery Ward, LLC,
    634 F.3d 732 (3d Cir. 2011).....................................................................................................11

Peloro v. United States,
   488 F.3d 163 (3d Cir. 2007).....................................................................................................13

In re Physiotherapy Holdings, Inc.,
    2016 WL 3611831 (Bankr. D. Del. June 20, 2016) ...........................................................3, 7, 8

In re Physiotherapy Holdings, Inc. (Physiotherapy II),
    2017 WL 6524524 (D. Del. Dec. 21, 2017)...........................................................................7, 8

In re Pitt Penn Holding Co.,
    2011 WL 4352373 (Bankr. D. Del. Sept. 16, 2011) ..............................................................2, 3

In re Plassein Int’l Corp. v. B.A. Capital Co. LP,
    590 F.3d 252 (3d Cir. 2009).......................................................................................................8

In re PWS Holding Corp.,
    303 F.3d 308 (3d Cir. 2002).......................................................................................................7

In re QSI Holdings, Inc.,
    571 F.3d 545, 550 (6th Cir. 2009) .............................................................................................8

Quadrant Structured Prods. Co. v. Vertin,
   102 A.3d 155 (Del. Ch. 2014)..............................................................................................9, 10


                                                                   iv
                     Case 21-51190-BLS                      Doc 84           Filed 05/02/22             Page 7 of 29




                                        TABLE OF AUTHORITIES—Continued
                                                                                                                                        Page(s)

In re Rabinowitz,
    2011 WL 6749068 (Bankr. D.N.J. Dec. 21, 2011) ............................................................12, 14

Raytech Corp. v. White,
   54 F.3d 187 (3d Cir. 1995).......................................................................................................13

In re Resorts Int’l, Inc.,
    372 F.3d 154 (3d Cir. 2004).........................................................................................16, 17, 18

In re Samson Res. Corp.,
    625 B.R. 291 (Bankr. D. Del. 2020) ..........................................................................................4

In re Seven Fields Dev. Corp.,
    505 F.3d 237 (3d Cir. 2007)...............................................................................................16, 18

In re SunEdison, Inc.,
    620 B.R. 505 (Bankr. S.D.N.Y. 2020) .......................................................................................5

In re Swan Transportation Co.,
    596 B.R. 127 (Bankr. D. Del. 2018) ........................................................................................17

In re Tribune Co. Fraudulent Conv. Litig.,
    946 F.3d 66 (2d Cir. 2019).....................................................................................................4, 7

In re Tzanides,
    574 B.R. 489 (Bankr. D.N.J. 2017) .........................................................................................11

U.S. Bank National Association v. Verizon Communications Inc.,
   892 F. Supp. 2d 805, 816 (N.D. Tex. 2012), aff’d, 761 F.3d 409 (5th Cir.
   2014) ..........................................................................................................................................6

Wal-Mart Stores, Inc. v. AIG Life Ins. Co.,
   860 A.2d 312 (Del. 2004) ........................................................................................................15

In re Wilton Armetale, Inc.,
    968 F.3d 273 (3d Cir. 2020).................................................................................................7, 18

Witkowski v. Welch,
   173 F.3d 192 (3d Cir. 1999)...............................................................................................13, 14

In re Worldcom, Inc.,
    401 B.R. 637 (S.D.N.Y. 2009)...........................................................................................12, 14




                                                                         v
                     Case 21-51190-BLS                    Doc 84           Filed 05/02/22            Page 8 of 29




                                       TABLE OF AUTHORITIES—Continued
                                                                                                                                    Page(s)

Statutes

11 U.S.C. § 544(b) .......................................................................................................................6, 7

11 U.S.C. § 546(e) ................................................................................................................. passim

11 U.S.C. § 548(a) ...................................................................................................................5, 6, 7

11 U.S.C. § 741 ............................................................................................................................1, 3

8 Del. Code § 170 ..........................................................................................................................13

8 Del. Code § 174 ..........................................................................................................9, 10, 12, 13

Rules

Federal Rule of Evidence 201 ..........................................................................................................4

Other Authorities

R. Franklin Balotti & Jesse A. Finkelstein, The Delaware Law of Corporations
    and Business Organizations § 5.32 (3rd and 4th eds., 2021-2 Supp. 1998) ............................12
Edward P. Welch et al., Folk on the Delaware General Corporation Law (7th ed.
   2022-1 Supp.)...................................................................................................................4, 9, 10




                                                                      vi
               Case 21-51190-BLS           Doc 84       Filed 05/02/22     Page 9 of 29




                                             ARGUMENT

I.      PLAINTIFFS’ CLAIMS TO RECOVER THE DISTRIBUTION ARE BARRED BY
        THE BANKRUPTCY CODE’S SAFE HARBOR PROVISION (COUNTS I, II, XIII,
        XIV & XV)

        The Distribution was a “transfer” (i) made “in connection with” a “securities contract”

(several, in fact); (ii) “to” and “for the benefit of” a “financial participant” (i.e., CHS-2). Plaintiffs’

claims to recover the Distribution—whether cloaked as avoidance actions or otherwise—are thus

barred by 11 U.S.C. § 546(e)’s Safe Harbor. See Mot. 9-16. Plaintiffs cannot defeat application

of the Safe Harbor by denying the central features of the transaction.

        A.      Plaintiffs’ Fraudulent Transfer Claims Are Barred By The Safe Harbor

                1.      The Distribution Was Made “In Connection” With Various “Securities
                        Contracts”

        The Distribution was made “in connection” with several securities contracts—namely, the

Spin-Off Agreement and its attendant securities transactions. Mot. 10-11.

        The Distribution Was Made In Connection With The Spin-Off Agreement. Plaintiffs

concede that the Distribution was made “in connection with” the Spin-Off Agreement. Opp. ¶ 54

(“[T]he actual transfer of the [Distribution] was made solely in connection with the terms of the

[Spin-Off Agreement].”). The only question, then, is whether the Spin-Off Agreement is a

“securities contract”—which is to say, at least “similar to” a “contract for the purchase, sale, or

loan of a security.” 11 U.S.C. § 741(7)(A)(i), (vii). That question is not debatable. It is

indisputable that, pursuant to the Spin-Off Agreement—a bilateral agreement containing a host of

reciprocal undertakings—CHSI transferred securities to Quorum. If the Spin-Off Agreement is

not a securities contract, it is hard to know what is.

        Plaintiffs nevertheless suggest that the Spin-Off Agreement might not be a securities

contract. They ask the Court to ignore the “self-serving” text of the Spin-Off Agreement, which


                                                    1
              Case 21-51190-BLS         Doc 84       Filed 05/02/22   Page 10 of 29




defines the Distribution as contractual consideration that Quorum paid in exchange for the

transferred securities. Opp. ¶ 50. Plaintiffs say that the Court should instead let them proceed to

discovery on the theory that the Distribution was just a “gratuitous,” unrelated tribute to Quorum,

such that there was no exchange of consideration to support the existence of any contract. But

Plaintiffs cannot avoid application of the Safe Harbor on the basis of the preposterous assertion

that the simultaneous Distribution “was not paid in exchange for the QHC Assets.” Opp. ¶ 39. If

that were enough to escape the Safe Harbor, there would be nothing left of it. 1

       The Distribution Was Made In Connection With Other Securities Contracts As Well. Per

the Spin-Off Agreement, CHS-2 used the Distribution—which included proceeds of Quorum’s

senior notes issuance—to fund repurchases of its own debt securities. Plaintiffs do not seriously

dispute that the notes issuance and debt repurchases were securities contracts; 2 rather, Plaintiffs

argue that the Distribution was not made “in connection with” those transactions. But a transfer

need only clear the “low bar” of being “related to” or “associated with” a securities contract to

qualify. In re Bernard L. Madoff Inv. Sec. LLC, 773 F.3d 411, 422 (2d Cir. 2014). And Plaintiffs

have cleared that bar for us: their Complaint alleges that CHSI caused Quorum “to raise $1.21

billion in debt,” which proceeds Quorum “would then pay to” CHS-2 so it could “pay down the



       1
         In re Pitt Penn Holding Co., cited at Opp. ¶ 50, is inapposite. There, the plaintiff alleged
that two individuals illegally used an employee stock option plan as a “conduit for distributing
millions of shares to various non-employees”—creating a factual dispute whether the transfers
were made pursuant to the plan, or instead were extra-contractual gifts to third parties. 2011 WL
4352373, at *1 (Bankr. D. Del. Sept. 16, 2011). It is on zero fours with our case.
       2
          A common refrain from Plaintiffs is that even the most basic and incontrovertible of facts
cannot be considered unless Plaintiffs decided to put them in their Complaint. So, for example,
Plaintiffs quibble that it “cannot be determined at this stage of the litigation” whether these
transactions were “securities contracts” because the contracts themselves are not “properly before
the Court.” Opp. ¶¶ 51-53. Plaintiffs do not explain why the contracts themselves are necessary—
the Court may simply take judicial notice of the publicly available documents in which the
transactions are disclosed. See Mot. 4 n.4.

                                                 2
              Case 21-51190-BLS           Doc 84       Filed 05/02/22    Page 11 of 29




over one billion dollars of [CHS-2’s] own debt.” Cplt. ¶ 3 (emphasis added). Having alleged a

direct connection between the Distribution and these securities contracts, Plaintiffs can scarcely

claim now that the transactions were not even “related” to one another.

        Plaintiffs counter that courts in this district require a “closer nexus.” Opp. ¶ 55. But they

identify only a single, unpublished opinion that suggested, in unexplained dicta, that the relevant

transfer must be made “pursuant to” a securities contract. See Pitt Penn, 2011 WL 4352373, at

*12 n.17. Such a crabbed reading is irreconcilable with the plain text of the statute. Section 546(e)

contains “broad reaching language.” In re Physiotherapy Holdings, Inc., 2016 WL 3611831, at

*11 (Bankr. D. Del. June 20, 2016). Congress “could have raised the bar by requiring that the

transfer be made ‘pursuant to,’ or ‘in accordance with the terms of,’ or ‘as required by,’ the

securities contract, but it did not.” Madoff, 773 F.3d at 422; compare with, e.g., 11 U.S.C. § 741(2)

(using phrase “pursuant to a purchase”). “Instead, Congress merely required that the transfer have

a connection to the securities contract.” 773 F.3d at 422. Here, accepting Plaintiffs’ own

allegations at face value, the Distribution readily satisfies that standard. 3

        Last, Plaintiffs’ policy concerns about the breadth of the Safe Harbor are overwrought.

Opp. ¶ 59. The Safe Harbor extends only to certain securities-related transfers involving a narrow

list of qualifying entities enumerated in Section 546(e)—entities that Congress deemed especially

significant to the stability and predictability of the securities markets. Whether Plaintiffs’ policy



        3
         As a fallback, Plaintiffs urge that they should be permitted to avoid whatever portions of
the Distribution that cannot be directly traced to either the notes issuance or debt repurchases. See
Opp. ¶ 59. But they cite no authority for this proposition, which is also irreconcilable with the
plain text of Section 546(e): the Safe Harbor protects any qualifying “transfer.” Here, the
“transfer” the Trustee seeks to avoid is the Distribution. Were it necessary to unwind every
complex securities transaction to disentangle the safe-harbored bits from the non-safe-harbored
bits—a fool’s errand, given the fungibility of money—then the Safe Harbor would proliferate the
very market disruption and uncertainty which Congress set out to prevent.

                                                   3
              Case 21-51190-BLS         Doc 84        Filed 05/02/22   Page 12 of 29




preference or not, that includes major market players, like CHS-2, that Congress deemed worthy

of protection when it amended Section 546(e) to include “financial participant[s].” See In re

Samson Res. Corp., 625 B.R. 291, 301 n.36 (Bankr. D. Del. 2020).

               2.      The Distribution Was Made To, And For The Benefit Of, A Financial
                       Participant (CHS-2)

       Plaintiffs argue that the Distribution was not made to a “financial participant” because

BridgeCo, not CHS-2, was the “direct recipient.” Opp. ¶ 60. True enough, but irrelevant. There

is no dispute that BridgeCo merged into CHS-2 in connection with the Spin-Off, at which point

they became the same company. See Edward P. Welch et al., Folk on the Delaware General

Corporation Law § 259.01 (7th ed. 2022-1 Supp.) (When a merger has taken place, “the old

corporations have their identity absorbed into that of . . . one into which they were merged.”). The

relevant question, therefore, is whether CHS-2 (the surviving entity) meets the definition of

“financial participant.” And the answer is plainly yes. See Mot. 12-13. 4

       Regardless, the “relevant transfer for purposes of the” Safe Harbor is the “overarching

transfer that the trustee seeks to avoid”—not its component parts. See Merit Mgmt. Grp., LP v.

FTI Consulting, Inc., 138 S. Ct. 883, 892-93 (2018). Here, the “transfer” that Plaintiffs seek to


       4
          Plaintiffs do not dispute that, based on the high-value transactions identified in
Defendants’ opening brief, CHS-2 is a “financial participant.” Instead, Plaintiffs argue that the
Court may not rely upon public SEC filings to establish that those transactions actually occurred.
Opp. ¶ 62. But many courts will rely upon publicly available materials to assess, at the motion-to-
dismiss stage, whether a party was a qualifying entity for purposes of the Safe Harbor. See, e.g.,
In re Tribune Co. Fraudulent Conv. Litig., 946 F.3d 66, 78 (2d Cir. 2019). Indeed, the Third
Circuit has taken judicial notice of the content, and not just the existence, of SEC filings. See FTC
v. Shire ViroPharma, Inc., 917 F.3d 147, 151 n.5 (3d Cir. 2019). While Plaintiffs request
“discovery” on this issue, they do not say what facts they could possibly unearth that would call
into question whether CHS-2 was a financial participant. See Ieradi v. Mylan Labs., Inc., 230 F.3d
594, 600 n.3 (3d Cir. 2000) (taking judicial notice of stock prices as reported by third-party service
because under Federal Rule of Evidence 201, the court “may take judicial notice at any stage of
the proceeding of a fact not subject to reasonable dispute that is capable of accurate and ready
determination by resort to a source whose accuracy cannot be reasonably questioned”).

                                                  4
             Case 21-51190-BLS          Doc 84       Filed 05/02/22   Page 13 of 29




avoid is the Distribution from Quorum to CHS-2, which was accomplished through the CHS-2 /

BridgeCo merger. See, e.g., Cplt. ¶¶ 98 & 102. Plaintiffs cannot “escape the reach of the safe

harbor by seeking to avoid an intermediate transfer between non-qualifying participants [Quorum

and BridgeCo] and sue the qualifying participants of the true overarching transfer as subsequent

transferees.” See In re SunEdison, Inc., 620 B.R. 505, 513 (Bankr. S.D.N.Y. 2020).

       In the end, however, it is inconsequential whether the Distribution went directly “to” CHS-

2. That is because the Safe Harbor equally protects transfers made “for the benefit” of a “financial

participant.” 11 U.S.C. § 546(e) (emphasis added). And the Court need look no further than the

Complaint to see that the Distribution was made “for the benefit of” CHS-2: Plaintiffs allege that

the Distribution was “undertaken” for “CHS-2’s sole benefit.” Cplt. ¶ 110 (emphasis added).

       B.      Plaintiffs’ Additional Claims Are Likewise Barred By The Safe Harbor

       Plaintiffs try to circumvent the Safe Harbor by throwing state-law claims and individual

noteholders at the problem. That gambit fails.

               1.      The Safe Harbor Precludes The Trustee’s Claims For Unjust
                       Enrichment And Illegal Dividend

       Courts routinely dismiss state-law claims arising from transfers otherwise protected by the

Safe Harbor. See Mot. 14-15 (collecting cases). For good reason: To “[a]llow[] recovery” would

“wholly frustrate the purpose” of Section 546(e) and “render the . . . exemption meaningless.”

Contemporary Indus. Corp. v. Frost, 564 F.3d 981, 988 (8th Cir. 2009), abrogated on other

grounds by Merit, 138 S. Ct. 883 (2018).

       Plaintiffs do not dispute that well-worn proposition. Instead, they argue that there is an

exception when the state-law claims “have more in common with claims grounded in actual

fraudulent intent.” Opp. ¶ 64. No such exception exists. Section 546(e) contains only a narrow

carve-out for actual fraudulent transfer actions brought “under Section 548(a)(1)(A)” of the


                                                 5
              Case 21-51190-BLS          Doc 84        Filed 05/02/22   Page 14 of 29




Bankruptcy Code. 11 U.S.C. § 546(e) (emphasis added). Plaintiffs have not brought a Section

548(a)(1)(A) claim relating to the Distribution, because it would be time-barred. And courts have

rightly refused to rewrite that carve-out, as Plaintiffs invite, to include any claim under the sun that

has features “in common with” a Section 548(a)(1)(A) claim. So, for example, courts have refused

to extend the carve-out to state-law actual avoidance actions, like those brought by Plaintiffs here,

under 11 U.S.C. § 544(b). See Mot. 10 n.8 (collecting cases). 5 Plaintiffs do not challenge those

cases and similarly cannot evade the Safe Harbor by pursuing unjust enrichment and illegal

dividend claims that are, at bottom, state-law avoidance claims in disguise. See In re Hechinger

Inv. Co. of Del., 274 B.R. 71, 96-98 (D. Del. 2002). 6

               2.      The Safe Harbor Also Precludes The Individual Noteholders’ Tagalong
                       Claims

       Nor can Plaintiffs evade the Safe Harbor by bringing fraudulent transfer claims in their

capacity as individual noteholders. (To say nothing of the fact that individual noteholders lack

both the authority and jurisdiction to assert such claims. See infra pp. 15-18.)

       In support of their argument that individual noteholders are excused from the Safe Harbor,

Plaintiffs point out that Section 546(e) uses the word “trustee.” Opp. ¶ 80. But that nomenclature


       5
          As a fallback, Plaintiffs argue that the Safe Harbor would not bar the claims for illegal
dividend. But it does not address the cases, such as U.S. Bank National Association v. Verizon
Communications Inc. (which it cites favorably elsewhere), holding that the Safe Harbor does
preclude such causes of action. 892 F. Supp. 2d 805, 816 (N.D. Tex. 2012), aff’d, 761 F.3d 409
(5th Cir. 2014); see Contemporary, 564 F.3d at 988-89 (Safe Harbor prohibits claims for illegal
and/or excessive shareholder distributions, in addition to unjust enrichment).
       6
          One case cited by Plaintiffs sought to distinguish Hechinger on the ground that those
plaintiffs’ unjust enrichment claims were based on the same facts as their constructive (as opposed
to actual) fraud claims. In re Lehman Bros. Holdings Inc., 469 B.R. 415, 451 (Bankr. S.D.N.Y.
2012). It is true that the plaintiffs in Hechinger relied on a constructive fraud theory. But the court
nevertheless expressly rejected the argument Plaintiffs make here: that the unjust enrichment
claims were not foreclosed “because Congress has exempted from section 546(e) intentionally
fraudulent transfer claims arising under section 548(a)(1) of the Code that have a similar scienter
requirement as that of unjust enrichment claims.” 274 B.R. at 95-96, 98.

                                                   6
              Case 21-51190-BLS          Doc 84        Filed 05/02/22    Page 15 of 29




does not exclude claims by individual creditors. Once a debtor files for bankruptcy, the trustee (or

other representative of the estate) stands “in the shoes of” creditors. In re PWS Holding Corp.,

303 F.3d 308, 314 (3d Cir. 2002). As such, it is the trustee (not individual creditors) who is

empowered to bring fraudulent transfer actions. See 11 U.S.C. §§ 544(b), 548(a); Mot. 26-27

(citing In re Wilton Armetale, Inc., 968 F.3d 273, 283 (3d Cir. 2020)). It therefore makes sense

that the Safe Harbor contemplates claims by the “trustee.” Granted, the ability to bring fraudulent

transfer actions may, if abandoned by the trustee, revert to creditors. But there is no reason to

suppose that, in that circumstance, creditors would somehow succeed to greater rights than the

estate itself had. See, e.g., PWS, 303 F.3d at 315 (creditors bound by estate’s settlement or

extinguishment of a cause of action).

        Even if Section 546(e) did not expressly bar individual creditors’ claims, it would impliedly

foreclose them, for the reasons the Second Circuit persuasively explained in Tribune. 7 In short,

the “idea of preventing a trustee from unwinding specified transactions while allowing creditors

to do so . . . is a policy in a fruitless search of a logical rationale.” Tribune, 946 F.3d at 90-91.

        Plaintiffs counter that “[e]ach court within this Circuit that has confronted Tribune’s

preemption decision has concluded that it was wrongly decided.” Opp. ¶ 88 (citing Physiotherapy

and Physiotherapy II). But the Physiotherapy decisions, in addition to being unpersuasive and

distinguishable, did not go so far. Instead, Physiotherapy declined to apply the Safe Harbor to

individual creditor claims where: (1) “the transaction sought to be avoided pose[d] no threat of

‘ripple effects’ in the relevant securities markets”; (2) “the transferees received payment for non-


        7
          Plaintiffs criticize Tribune for supposedly “disregard[ing] th[e] well-recognized
presumption” against preemption. Opp. ¶ 75. But the Second Circuit did not hold that the
presumption was inapplicable in bankruptcy. Instead, it expressly acknowledged its existence and
explained that it “usually goes to the weight to be given to the lack of an express statement
overriding state law.” 946 F.3d at 82.

                                                   7
              Case 21-51190-BLS         Doc 84       Filed 05/02/22   Page 16 of 29




public securities”; and (3) “the transferees were corporate insiders that allegedly acted in bad

faith.” See Physiotherapy, 2016 WL 3611831, at *10; see also In re Physiotherapy Holdings, Inc.

(Physiotherapy II), 2017 WL 6524524, at *10 (D. Del. Dec. 21, 2017) (observing that bankruptcy

court’s “case-specific preemption analysis is not a substantial ground for difference of opinion that

justifies interlocutory appeal”) (emphasis added).

       This reasoning is tenuous, given that, among other things, there is no “bad faith” exception

to the Safe Harbor, and the Third Circuit has previously extended to private-market securities the

same Safe Harbor protections it has afforded public-market securities. In re Plassein Int’l Corp.

v. B.A. Capital Co. LP, 590 F.3d 252, 258-59 (3d Cir. 2009) (“settlement payment” includes

payment made for securities in private securities markets). But even if the Physiotherapy standard

were valid, it would not apply here: Plaintiffs’ claims do pose a threat of “ripple effects” to the

public securities markets. Plaintiffs seek to unwind a complex, multi-billion-dollar transaction

involving a publicly traded company and its subsidiary that, in Congress’s estimation, is vital to

the orderly operation of the securities markets. To sustain such an action could have far-reaching

consequences for CHSI, its public equity and debt holders, and the broader financial markets. See,

e.g., In re QSI Holdings, Inc., 571 F.3d 545, 550 (6th Cir. 2009), abrogated on other grounds by

Merit, 138 S. Ct. 883 (“The value of the privately held securities at issue is substantial and there

is no reason to think that unwinding the settlement would have any less of an impact on financial

markets than publicly traded securities.”).

II.    EVEN IF THE SAFE HARBOR DID NOT APPLY, THE ILLEGAL DIVIDEND
       CLAIMS WOULD STILL FAIL

       Beyond the Safe Harbor, the illegal dividend claims (Counts XIII and XIV) fail for two

additional reasons. First, the Distribution was not a “dividend”—and, a fortiori, not an “illegal”

one—as a matter of Delaware law. Second, the illegal dividend claim is precluded by res judicata


                                                 8
              Case 21-51190-BLS         Doc 84       Filed 05/02/22   Page 17 of 29




and collateral estoppel.

       A.      The Distribution Was Not A Dividend

       The illegal dividend claims suffer from a fundamental problem: the Distribution was not a

dividend. See Mot. 16-18. Rather, the Distribution was self-evidently one side of a bilateral

exchange between CHSI and Quorum. A claim seeking to unwind such a transaction is not

cognizable under 8 Del. Code § 174, and Plaintiffs’ arguments to the contrary are unavailing.

       First, Plaintiffs urge that the Spin-Off Agreement’s characterization of the Distribution as

“consideration” for the QHC Assets is “self-serving window dressing that does not accurately

represent [the Distribution’s] true nature.” Opp. ¶ 39. In support, Plaintiffs tout that certain

corporate authorizations referred to the Distribution as a “distribution.” Opp. 29 n.9. So what?

“Not every distribution to stockholders is properly characterized as a dividend.” Edward P. Welch

et al., Folk on the Delaware General Corporation Law § 170.01 (7th ed. 2022-1 Supp.). Instead,

the “declaration of a dividend is a specific corporate act governed by specific sections of the

DGCL.” Quadrant Structured Prods. Co. v. Vertin, 102 A.3d 155, 201-02 (Del. Ch. 2014). Here,

there is no allegation that Quorum’s Board formally declared a dividend, 8 nor any suggestion that

the Distribution was somehow a return on CHSI’s investment.            To the contrary, Plaintiffs

acknowledge that the Spin-Off was consummated through a series of transfers from Quorum to



       8
          That CHSI and Quorum imprecisely referred to the Distribution as a “dividend” in certain
documents is equally immaterial. See In re IAC/InterActive Corp., 948 A.2d 471, 511 (Del. Ch.
2008) (ignoring use of term “dividend” by third-party consultant and company employees because
it would be “entirely inappropriate” and “contrary to the controlling and persuasive authority” to
treat transaction as a “stock dividend merely because that term was misused in a board presentation
and in draft press releases”). Notably, Plaintiffs do not allege that the companies ever referred to
the distribution as a dividend in formal corporation authorizations. See Fulweiler v. Spruance, 222
A.2d 555, 559 (Del. 1966) (resolution “carefully refrained from describing the distribution as a
dividend, but in fact described it for what in fact it was—a partial distribution of duPont income-
producing assets pursuant to the order of a court”).

                                                 9
              Case 21-51190-BLS         Doc 84      Filed 05/02/22     Page 18 of 29




CHSI and reciprocal transfers from CHSI to Quorum (Opp. ¶ 29 n.9)—the quintessential bilateral

exchange.

       Second, doubtless aware that no dividend was formally declared or issued, Plaintiffs (citing

non-binding, non-Delaware authority) urge an “expansive view” of Section 174 that would, in

effect, treat as a “dividend” any transaction in which a shareholder receives some benefit from the

company. See Opp. ¶¶ 40-42. That is precisely the sort of boundless theory that Delaware courts

have rejected in refusing to recognize so-called “constructive” dividends. See Quadrant, 102 A.3d

at 201-02. Instead, Delaware law commands a “formal and technical approach”: Because the

declaration of a dividend is a specific corporate act governed by a specific provision in the DGCL,

“[n]o section of the DGCL extends the restrictions governing . . . dividends to other transactions

between a corporation and stockholders.” Id. 9 When a formal dividend is absent, Delaware law

evaluates claims of shareholder self-dealing “under the rubric of fiduciary duty.” Id. Here, any

breach-of-fiduciary-duty claim would be time-barred. See Mot. 18. The Court should reject

Plaintiffs’ effort to shoehorn their time-barred claim into an inapplicable statutory provision. 10

       B.      The Illegal Dividend Claims Are Barred By Claim And Issue Preclusion, In
               Any Event

       Quorum could have brought an illegal dividend claim in the arbitration. See 8 Del. Code

§ 174 (directors are liable “to the corporation”). Indeed, Quorum affirmatively litigated in the

arbitration many of the same issues that Plaintiffs rehash here, while electing not to assert a claim


       9
          The statutory text also undermines Plaintiffs’ theory. “Clos[ing] a loophole in the
common law,” § 174 extends liability to unlawful stock purchases and redemptions, “which are
often in fact disguised dividends.” Edward P. Welch et al., Folk on the Delaware General
Corporation Law § 174.05 (7th ed. 2022-1 Supp.). That language would be otiose if, as Plaintiffs
suggest, Section 174 already covers every transaction in which a stockholder receives cash from
the company.
       10
          Count XIV (aiding-and-abetting) should also be dismissed because no such cause of
action exists. See Mot. 18 n.12; Credit Suisse Mot. (Dkt. 48) at 22-27.

                                                 10
                 Case 21-51190-BLS      Doc 84     Filed 05/02/22     Page 19 of 29




for illegal dividend. The Litigation Trustee, successor-in-interest to Quorum, is now bound by

that decision.

                  1.   Plaintiffs’ Claims Are Barred By Claim Preclusion

       Plaintiffs’ chief argument against claim preclusion is that they are not in privity with

prepetition Quorum. Opp. ¶¶ 67-69. But this argument misapprehends the law and is contradicted

by Plaintiffs’ own Complaint.

       It is noncontroversial that a trustee in bankruptcy (including a litigation trustee) is a

successor-in-interest to the debtor and therefore the debtor’s privy for purposes of preclusion. See

In re Montgomery Ward, LLC, 634 F.3d 732, 737 (3d Cir. 2011) (“Res judicata may apply to a

successor in interest . . . . A trustee in bankruptcy, including a debtor-in-possession, may thus be

considered the privy of the prebankruptcy debtor for res judicata purposes.”).

       Resisting that truism, Plaintiffs cite a smattering of cases in which bankruptcy trustees were

held not to be in privity with the prepetition debtor. Opp. ¶ 68. Every one of those cases is

irrelevant, however, because they involved the application of preclusion to a trustee’s fraudulent

conveyance claims. When evaluating creditor claims in bankruptcy, “[t]he distinction between

claims that once belonged to creditors and those that [only] later became property of a debtor’s

estate is an important one.” In re Maxus Energy Corp., 2019 WL 647027, at *5 (Bankr. D. Del.

Feb. 15, 2019). Prepetition debtors have no standing to bring fraudulent conveyance claims; such

claims belong uniquely to creditors (and, in the event of bankruptcy, the estate). So, naturally, a

prepetition debtor’s failure to assert a fraudulent conveyance claim—which it had no standing to

bring in the first place—is not preclusive of the trustee’s ability to do so. See Maxus Energy Corp.,

2019 WL 647027, at *5 (no privity because debtor “had no actionable prepetition fraudulent

conveyance claims”); In re Good Time Charley’s, Inc., 54 B.R. 157, 160 (Bankr. D.N.J. 1984)

(same); see also In re Tzanides, 574 B.R. 489, 522 (Bankr. D.N.J. 2017).
                                                 11
              Case 21-51190-BLS          Doc 84     Filed 05/02/22      Page 20 of 29




       Here, by contrast, the Trustee brings a “claim . . . based on state law” that is “more or less

equivalent to the remedy forgone by the Debtor,” and the aligned interests of the Trustee and the

prepetition debtor create the requisite privity. In re Rabinowitz, 2011 WL 6749068, at *9 (Bankr.

D.N.J. Dec. 21, 2011); see also In re Worldcom, Inc., 401 B.R. 637, 651 (S.D.N.Y. 2009) (trustee

“is a successor in interests to causes of actions that are derivative of OneStar’s rights”).

       Plaintiffs maintain that the Trustee’s and prepetition Quorum’s interests were not aligned,

because Quorum was disincentivized from “publicly acknowledg[ing]” its financial difficulties.

See Opp. ¶ 69.      Nonsense.     The arbitration was confidential—Quorum did not “publicly

acknowledge” anything. And Quorum was hardly bashful trumpeting its financial struggles to

gain a litigation advantage. See Dkt. 44, Ex. 10 (Quorum Post-Hearing Brief) at 86 (Quorum “was

in default on the debt . . . within months of the Spin-Off” and had to “renegotiate its debt

covenants” twice); id. at 87 (Quorum experienced “financial distress . . . almost immediately

following the Spin-Off”); see also id. at 85, 92, 95 (more of the same).

       As a fallback, Plaintiffs urge that individual creditors may still bring illegal dividend

claims, either on their own or through the Trustee as their assignee. See Opp. ¶¶ 67-69. That does

not work, either. It is contradicted by the face of the Complaint, which identifies the illegal

dividend claims as “Debtor Causes of Action.” Cplt. ¶¶ 13-14. 11

               2.      Plaintiffs’ Claims Are Barred By Issue Preclusion As Well

       For much the same reasons, issue preclusion likewise bars the Trustee’s illegal dividend


       11
          Even if the illegal dividend claims were asserted by individual creditors, they would still
fail. The creditors lack standing to bring the claims under Section 174 unless they bring a class
action “for the benefit of all creditors.” See John A. Roebling’s Sons Co. v. Mode, 43 A. 480, 482
(Del. Super. Ct. 1899); see also R. Franklin Balotti & Jesse A. Finkelstein, The Delaware Law of
Corporations and Business Organizations § 5.32 (3rd and 4th eds., 2021-2 Supp. 1998). And this
subset of creditors also lacks the right to unwind the entire $1.21 billion Distribution “without
respect to any of the other creditors.” See Roebling’s Sons, 17 Del. at 520-21.

                                                  12
              Case 21-51190-BLS           Doc 84     Filed 05/02/22      Page 21 of 29




claims. The claims are “in substance the same” as those that Quorum already litigated—and lost—

in the arbitration. See Raytech Corp. v. White, 54 F.3d 187, 193 (3d Cir. 1995) (quoting Montana

v. United States, 440 U.S. 147, 155 (1979)); see also Witkowski v. Welch, 173 F.3d 192, 200 (3d

Cir. 1999) (issues are identical where claim in second proceeding “was necessarily based on the

same alleged fraudulent scheme” as the claims dismissed in arbitration). The gravamen of the

Trustee’s claims is that CHSI and its officers “[n]ever investigated the reasonableness of the QHC

Projections,” let “the QHC Assets deteriorate[] substantially prior to the Spin-Off,” and

“prohibited QHC’s new management from participating in Spin-Off planning.” Cplt. ¶ 167. Those

are precisely the issues that Quorum litigated in the arbitration as fodder for its tortious interference

claim. See Dkt. 44, Ex. 10, at 65-83 (pressing identical allegations in the arbitration). If the illegal

dividend claims were to go forward, the Trustee would necessarily marshal the same documentary

evidence and witness testimony that Quorum already adduced in the arbitration. See Peloro v.

United States, 488 F.3d 163, 175 n.12 (3d Cir. 2007) (in considering issue preclusion, “a court

should ask, inter alia, ‘Is there a substantial overlap between the evidence or argument to be

advanced in the second proceeding and that advanced in the first?’”).

        Plaintiffs have no substantial response to this. Misapprehending how issue preclusion

works, they offer that the arbitration could have preclusive effect only if the arbitral panel

affirmatively considered Delaware’s illegal dividend statute. See Opp. ¶ 71. But this confuses an

“issue” with a “claim.”      The issue subject to preclusion is not whether Quorum paid the

Distribution “[o]ut of its surplus” or “out of its net profits for the fiscal year” pursuant to 8 Del.

Code § 170. See id. The issue is whether, as the Trustee alleges, Quorum’s directors “acted

willfully or negligently when they approved” the Distribution because of CHSI’s alleged

misconduct leading up to the Spin-Off. See Cplt. ¶ 167; 8 Del. Code § 174 (directors are liable for



                                                   13
              Case 21-51190-BLS         Doc 84    Filed 05/02/22      Page 22 of 29




“wilful or negligent violation[s]” of § 173). Because that issue is indistinguishable from one

Quorum already litigated (and lost), the Trustee is precluded from resurrecting it.

III.    PLAINTIFFS’ UNJUST ENRICHMENT CLAIM (COUNT XV) IS BOTH
        PRECLUDED AND TIME-BARRED

        A.      The Unjust Enrichment Claim Is Foreclosed By Claim And Issue Preclusion

        The Trustee and prepetition Quorum are likewise in privity with respect to the unjust

enrichment claim. Unjust enrichment is not a claim, like fraudulent conveyance, that belongs only

to creditors and the trustee. Prepetition Quorum had every ability to bring such a claim, and the

Trustee is now successor-in-interest to that cause of action. See Worldcom, 401 B.R. at 651. The

Complaint expressly identifies the unjust enrichment claim as a “Debtor Cause[ ] of Action.” See

Cplt. ¶ 13. Furthermore, “there is substantial identity between the incentives” of Quorum in the

arbitration and the Trustee in this action. Rabinowitz, 2011 WL 6749068, at *9. Quorum was not

merely “incentivized” to allege in the arbitration that CHSI unjustly impoverished Quorum for its

own benefit; Quorum made those allegations. See Dkt. 44, Ex. 10, at 85-95. Claim preclusion

therefore bars this claim. 12

        The Trustee’s claim is barred by issue preclusion as well. The arbitration involved the

same issues on which the unjust enrichment claim is based. See Witkowski, 173 F.3d at 200 (issue

preclusion where both claims were “based on the same alleged fraudulent scheme”). Indeed,


        12
           Plaintiffs suggest that the unjust enrichment claim cannot be precluded because it had
not yet accrued at the time of the arbitration. See Opp. ¶ 70. That is incorrect. Unlike Plaintiffs’
breach of contract claim, which did not accrue until Quorum defaulted on its debt (see infra p. 20),
the unjust enrichment claims are expressly predicated on the $1.21 billion Distribution (made on
April 29, 2016), the Transaction Fee Transfers (made on May 1, 2016), and the TSA payments
(most of which preceded the arbitration). See Cplt. ¶¶ 109, 176-80, Ex. A; see also Mot. 24
(identifying the dates of the alleged acts underlying the unjust enrichment claim). Quorum’s
briefing in the arbitration makes plain that this claim had already accrued. See Dkt. 44, Ex. 10, at
89-95 (Quorum’s claimed damages included interests and costs on “excess debt” that “CHS forced
QHC to assume” and excess payments “charged by CHS under the TSAs”).

                                                 14
              Case 21-51190-BLS          Doc 84      Filed 05/02/22     Page 23 of 29




Plaintiffs’ description of the key issue underlying the unjust enrichment claim—“whether CHS

rendered QHC insolvent through its fraud and other machinations” (Opp. ¶ 71)—could just as well

have been lifted from Quorum’s arbitration brief. See Dkt. 44, Ex. 10, at 87 (alleging that “CHS’s

intentional actions” caused Quorum’s “financial distress” and “inability to service the debt that

CHS placed on it to finance the Spin-Off and cash dividend”).

        B.     The Unjust Enrichment Claim Is Largely Time-Barred

        Under Delaware’s three-year statute of limitations, Plaintiffs’ unjust enrichment claim is

largely time-barred. See Mot. 24. In an effort to solve that problem, Plaintiffs fall back on the

“discovery rule”—professing that they could not possibly have learned the facts of their claim

during the limitations period. That does not work here. The discovery rule applies only “in certain

limited circumstances”: the injury must be “inherently unknowable,” and the plaintiff must be

“blamelessly ignorant of the wrongful act and the injury complained of.” Wal-Mart Stores, Inc. v.

AIG Life Ins. Co., 860 A.2d 312, 319 (Del. 2004). And, importantly, the Trustee stands in

Quorum’s shoes for purposes of this claim.           The question, then, is whether Quorum was

“blamelessly ignorant” as to an “inherently unknowable” injury. To ask the question is to answer

it:   Quorum pressed—indeed, fully litigated—identical allegations in the arbitration.             And

Plaintiffs concede that Quorum “discovered certain of the facts” underlying the unjust enrichment

claim “prior to” the arbitration. Opp. ¶ 43. If there was anything to be discovered, Quorum found

it years ago. The discovery rule cannot now rescue the Trustee.

IV.     THE INDIVIDUAL NOTEHOLDER CLAIMS SHOULD BE DISMISSED

        A.     The Court Lacks Jurisdiction Over The Individual-Noteholder Claims

        Plaintiffs concede that “related to” jurisdiction is the only potential hook for the individual-

noteholder claims. Opp. ¶¶ 94-95. The claims therefore must satisfy the “close nexus” test for



                                                  15
              Case 21-51190-BLS           Doc 84       Filed 05/02/22     Page 24 of 29




this Court to have jurisdiction—meaning the claims “must affect an integral aspect of the

bankruptcy process.” In re Resorts Int’l, Inc., 372 F.3d 154, 167 (3d Cir. 2004).

        As explained (Mot. 25-26), the individual noteholder claims flunk the close nexus test. As

in Resorts, resolving these claims “will not affect the estate,” would “have only incidental effect

on the reorganized debtor,” Resorts, 372 F.3d at 169, and “will not require a court to interpret or

construe the Plan or the incorporated Litigation Trust Agreement,” id. at 170. And, though the

claims may “affect the former creditors as Litigation Trust beneficiaries, they no longer have a

close nexus to the bankruptcy plan or proceeding because they exchanged their creditor status to

attain rights to the litigation claims.” Id. at 169.

        Plaintiffs offer little in response. They first chastise us for “[r]elying only on” the Resorts

decision. Opp. ¶ 93. This one is a headscratcher. The Resorts decision—which created the close

nexus test—is binding Third Circuit precedent, squarely on point, and dispositive of the legal

question presented. What else would Plaintiffs have us cite? Their brief offers no insight; they

fail to cite a single Third Circuit case, much less one contrary to Resorts.

        Plaintiffs attempt to distinguish Resorts by conjuring a distinction between claims

involving post-confirmation conduct (like those in Resorts) and claims involving pre-confirmation

conduct (like the individual-noteholder claims). Opp. ¶¶ 93-94. But the Third Circuit has already

rejected that argument: For purposes of the close nexus test, “[t]he time when the conduct raised

in the post-confirmation complaint occurred is of no consequence.” In re Seven Fields Dev. Corp.,

505 F.3d 237, 265 (3d Cir. 2007).

        Next, Plaintiffs profess that the litigation trust was “a central pillar of the Plan,” and that it

was “important” to creditors that the Litigation Trustee be able to pursue these claims as their

assignee. Opp. ¶ 94. That may well be, but heartfelt desires do not create subject matter



                                                   16
              Case 21-51190-BLS         Doc 84      Filed 05/02/22     Page 25 of 29




jurisdiction. And that a trust siphoned away the claims militates against jurisdiction. As the Third

Circuit aptly put it:

        “[T]he Litigation Trust was created in part so that the Plan could be confirmed and
        the debtor freed from bankruptcy court oversight without waiting for the resolution
        of the litigation claims. The deliberate act to separate the litigation claims from
        the bankruptcy estate weakens the Trustee’s claim that the Litigation Trust has the
        same jurisdictional nexus as that of the estate.”

Resorts, 372 F.3d at 169 (emphasis added).

        Plaintiffs cite no cases to the contrary. Their first case, In re Swan Transportation Co., 596

B.R. 127 (Bankr. D. Del. 2018), is inapposite. It involved plaintiffs seeking “to materially revise

the Trust Document, most tangibly by removing the Trustees and appointing a single receiver.”

Id. at 134. The court held that such relief “cuts to the very heart of the Confirmation Order and

Plan because it relates to the officers appointed by th[e] Court and to the procedures for appointing

new trustees.” Id. at 135. Here, by marked contrast, the individual-noteholder claims are

garden-variety state-law claims against third parties.       Resolving them will not “affect the

interpretation, implementation, consummation, execution, or administration of the confirmed

plan.” Resorts, 372 F.3d at 167.

        Plaintiffs’ next case, In re AstroPower Liquidating Tr., 335 B.R. 309 (Bankr. D. Del 2005),

misapplies precedent and was wrongly decided.          It held that if the court had “‘related to’

jurisdiction pre-confirmation” over a claim, and if the plan “specifically describes” that claim and

“expressly provides for the retention of such jurisdiction to liquidate that claim for the benefit of

the estate’s creditors,” then “there is a sufficiently close nexus with the bankruptcy proceeding to

support jurisdiction post-confirmation.” 335 B.R. 309 at 325 (emphasis added). That rule is

unworkable. “[R]etention of jurisdiction provisions in a plan of reorganization or trust agreement

are fundamentally irrelevant” to whether jurisdiction exists. Resorts, 372 F.3d at 161. As the

Third Circuit held in Resorts, pre-confirmation jurisdiction does not translate to post-confirmation
                                                 17
              Case 21-51190-BLS         Doc 84     Filed 05/02/22     Page 26 of 29




jurisdiction; either the post-confirmation claims have a close nexus to the plan, or they don’t. Id.

at 168-70. These don’t.

       Even if AstroPower could coexist with Resorts, it still would not help Plaintiffs. Unlike

the plan in AstroPower, the Plan here “only broadly provided for retention of jurisdiction over

causes of action.” In re BWI Liquidating Corp., 437 B.R. 160, 166 (Bankr. D. Del. 2010) (citing

Resorts, 372 F.3d at 167). Plaintiffs assert nothing to the contrary. See Opp. ¶¶ 93-95. The Plan

thus “provides no evidence of a sufficiently close nexus with the bankruptcy proceeding to support

post-confirmation jurisdiction.” BWI, 437 B.R. at 166. 13

       B.      All But One Noteholder Claim Is Precluded Until The Litigation Trustee
               Relinquishes His Purported Authority To Assert General Estate Claims

       As explained (Mot. 26-27), the fraudulent transfer, illegal dividend, and unjust enrichment

claims are “general” to the estate, so only the trustee (not individual noteholders) may pursue them.

Wilton Armetale, 968 F.3d at 283. Not until the “trustee abandons a cause of action” general to

the estate does “the ‘creditor’s right to pursue’ it ‘spring[ ] back to life.’” Id. at 284 (quoting 5

Collier on Bankruptcy ¶ 548.02[5][a] (16th ed. 2020)).

       Plaintiffs try to cast Wilton aside, asserting that this “concept of abandonment no longer

applies” because the noteholders assigned their claims to the litigation trust—and now, the Trustee

is asserting the claims “on alternative bases, in both his estate and creditor assignee capacities.”

Opp. ¶¶ 91-92. That cannot be. Because the Trustee has not abandoned these claims, all the




       13
          Plaintiffs’ final case, In re LGI, Inc., 322 B.R. 95 (Bankr. D.N.J. 2005), has been
abrogated in relevant part by the Third Circuit. See Seven Fields, 505 F.3d at 265 (“The time when
the conduct raised in the post-confirmation complaint occurred is of no consequence . . . the ‘close
nexus’ test applies in all disputes raised post-confirmation, regardless of when the conduct alleged
in the complaint occurred.”).

                                                 18
              Case 21-51190-BLS          Doc 84     Filed 05/02/22      Page 27 of 29




individual noteholders have—and therefore all they could have assigned to the Trustee—is a

contingent right to bring such claims if and when they are abandoned by the Trustee.

       Which brings us back to where we started: Either the Trustee is invoking his exclusive

power to bring general estate claims, in which case the noteholder claims must be dismissed, or

the Trustee must abandon those general estate claims, in which case the noteholders may bring

them. Put another way, the Trustee must choose whether to pursue these claims in his “estate”

capacity or his “creditor assignee” capacity. He cannot do both.

       C.      The Individual Noteholders’ Remaining Claim For Breach Of Contract
               (Count XII) Fails Because They Do Not Adequately Plead Alter Ego Liability

       Plaintiffs confuse the question presented. They assert, without explanation or support, that

the alter ego analysis should be conducted “at the time the Spin-Off Debt was incurred.” Opp. ¶ 9.

That is mistaken. Alter ego is not a standalone cause of action; it is merely a theory of liability for

an underlying claim. See, e.g., Blair v. Infineon Techs. AG, 720 F. Supp. 2d 462, 469 n.10 (D.

Del. 2019). It follows that the question of alter ego must be evaluated as of the time the underlying

cause of action accrued. See Chicago Florsheim Shoe Store Co. v. Cluett, Peabody & Co., 826

F.2d 725, 727-28 (7th Cir. 1987) (rejecting plaintiff’s argument that elements of alter ego “should

be examined at the time of the [leveraged buyout] which [plaintiff] alleges caused [debtor’s]

subsequent collapse,” and concluding instead that the defendant must satisfy the alter ego test at

the time the “cause of action arose”); Connors v. Peles, 724 F. Supp. 1538, 1560 (W.D. Pa. 1989)

(focusing alter ego inquiry on the time liability arose).

       Here, the only claim for which Plaintiffs 14 seek to pierce the corporate veil is breach of



       14
          Whether this claim is brought on behalf of the estate or the individual noteholders
(whether by the Litigation Trustee or the Indenture Trustee) has no bearing on whether CHSI and
Quorum were alter egos at the time of the breach.

                                                  19
              Case 21-51190-BLS          Doc 84     Filed 05/02/22      Page 28 of 29




contract (Count XII). It is black-letter law that a breach of contract claim accrues at the time of

the breach—not when the contract is first executed, or some other date. See, e.g., Lehman Bros.

Holdings, Inc. v. Kee, 268 A.3d 178, 185 (Del. 2021). Plaintiffs’ breach of contract claim is

predicated on Quorum’s default on its bonds. That default occurred in April 2020, four years after

the Spin-Off, which is when Plaintiffs’ claim accrued. Plaintiffs cannot seriously dispute this.

       The question, then, is whether CHSI and Quorum were alter egos in April 2020. And

Plaintiffs do not even attempt to argue that they were. Plaintiffs’ only theory for alter ego liability

is based on CHSI’s supposed control of Quorum prior to the Spin-Off. See Opp. ¶¶ 9-23; see also

Cplt. ¶ 155 (“At the time that the Senior Note Debt was incurred, QHC and CHS operated as a

single economic unit.”) (emphasis added); id. ¶ 156 (marshaling allegations in support of alter-ego

theory, all predating the Spin-Off).

       As noted, this is all beside the point. Plaintiffs concede that, following the Spin-Off,

Quorum operated independently for fully four years before defaulting on its debt. See Opp. ¶ 14

(Quorum “was able to ‘trudge along’ from 2016 to 2020 . . .”). Throughout that time, Quorum

indisputably existed as an autonomous public company—with its own board of directors, its own

management, and with no involvement or oversight by its former parent. So autonomous, in fact,

that Quorum commenced suit against CHSI and aggressively litigated many of the same grievances

that Plaintiffs now rehash. If the two companies were “alter egos” in the years following the Spin-

Off, someone neglected to inform Quorum.

       In the end, Plaintiffs have pled no allegations that could support a claim that Quorum and

CHSI were alter egos at the time Quorum defaulted on its debt, four years after it became an

independent public company. That settles the matter.

                                          CONCLUSION

       Defendants’ motion to dismiss should be granted.
                                                  20
            Case 21-51190-BLS        Doc 84    Filed 05/02/22    Page 29 of 29




Date: May 2, 2022                              Respectfully submitted,

/s/ Michael S. Neiburg                         Gary A. Orseck (admitted pro hac vice)
Michael S. Neiburg (DE No. 5275)               Alison C. Barnes (admitted pro hac vice)
Christopher M. Lambe (DE No. 6846)             William J. Trunk (admitted pro hac vice)
YOUNG CONAWAY STARGATT                         Jack A. Herman (admitted pro hac vice)
   & TAYLOR LLP                                Lauren C. Andrews (admitted pro hac vice)
Rodney Square                                  Jason A. Shaffer (admitted pro hac vice)
1000 North King St.                            KRAMER LEVIN ROBBINS RUSSELL
Wilmington, DE 19801                           2000 K Street, N.W., 4th Floor
Tel.: (302) 571-6600                           Washington, D.C. 20006
Fax: (302) 571-1253                            Tel: (202) 775-4500
mneiburg@ycst.com                              Fax: (202) 775-4510
                                               gorseck@kramerlevin.com
Counsel for Defendants Community Health        Counsel for Defendants Community Health
Systems, Inc., CHS/Community Health            Systems, Inc., CHS/Community Health Systems,
Systems, Inc., Revenue Cycle Service Center,   Inc., Revenue Cycle Service Center, LLC,
LLC, CHSPSC, LLC, Professional Account         CHSPSC, LLC, Professional Account Services,
Services, Inc., Physician Practice Support,    Inc., Physician Practice Support, LLC,
LLC, Eligibility Screening Services, LLC, W.   Eligibility Screening Services, LLC, W. Larry
Larry Cash, Rachel Seifert, and Adam           Cash, and Rachel Seifert
Feinstein

                                               ROLNICK KRAMER SADIGHI LLP

                                               Marc B. Kramer (admitted pro hac vice)
                                               Matthew Peller (admitted pro hac vice)
                                               1251 Avenue of the Americas
                                               New York, New York 10020
                                               Tel: (212) 597-2800
                                               Fax: (212) 597-2801
                                               mkramer@rksllp.com

                                               Sheila Sadighi (admitted pro hac vice)
                                               300 Executive Drive
                                               West Orange, New Jersey 07052

                                               Counsel for Defendant Adam Feinstein
